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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 Salvatore Davi,                                             ORDER

                                                        16-cv-5060 (ERK)
                            Plaintiff,

              – against –

 Samuel D. Roberts, Commissioner, New
 York State Office of Temporary and
 Disability Assistance, in his individual and
 official capacity, et al.,

                            Defendants.


       IT IS HEREBY ORDERED:

       Defendants are ordered to remove from plaintiff’s personnel file any

 references to disciplinary action taken against him relating to his October 2015

 Facebook comments. This order supplements and does not supersede the stipulated

 order of April 15, 2021 docketed at ECF No. 115 in this case.

                                                   SO ORDERED.

                                                   Edward R. Korman
 Brooklyn, New York                                Edward R. Korman
 May 28, 2021                                      United States District Judge
